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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-3190                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                  Filed On: November 27, 2023 [2028729]
United States of America,

              Appellee

      v.

Donald J. Trump,

              Appellant

      BEFORE:       Millett, Pillard, and Garcia, Circuit Judges

                                        ORDER

      Upon consideration of the motion of Jeremy C. Bates for leave to file brief as
amicus curiae in support of the United States and dismissal, and the lodged brief
amicus curiae, it is

      ORDERED that the motion be denied. The Clerk is directed to note the docket
accordingly.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
